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 8                            IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                     CASE NO. 1:13-CR-00036-LJO
11
                                     Plaintiff,    FINAL ORDER OF FORFEITURE
12
                              v.
13
     DUNG HANH DAO,
14
                                     Defendant.
15

16

17         WHEREAS, on April 9, 2014, this Court entered a Preliminary Order of Forfeiture

18 pursuant to the provisions of 18 U.S.C. §§ 982(a)(1), 981(a)(1)(C) and 28 U.S.C. § 2461,

19 based upon the plea agreement entered into between plaintiff and defendant Dung Hanh

20 Dao, forfeiting to the United States the following property:

21                 a)      Real Property located at 565 Ashwood Lane, Patterson, California,
                           APN: 047-056-001
22
                   b)      All funds in Wells Fargo Bank Account 6298633709, account held
23                         in the name of Hoang Nguyen and Dung Dao;
24                 c)      All funds in Wells Fargo Bank Account 7555004170, account held in
                           the name of Hoang Nguyen and Dung Dao;
25
                   d)      All funds in CitiBank Account 40016078665, account held in
26                         the name of Hoang Nguyen and Dung Dao;
27                 e)      All funds in CitiBank Account 4002791239, account held in
                           the name of Hoang Nguyen and Dung Dao;
28


      Final Order of Forfeiture                    1
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 1                 f)      All funds in CitiBank Account 40032456978, account held in
                           the name of NGA Thien Nguyen;
 2
                   g)      All funds in CitiBank Account 40032457000, account held in
 3                         the name of NGA Thien Nguyen;

 4                 h)      All funds in PayPal account 117830375874600733, account
                           registered to Tommy Nguyen, Fashion4us, Fashionblast;
 5
                   i)      All funds in Ipayment Account 4223-6941-0004-5808, account
 6                         Registered to Tommy Nguyen, One Dream Wholesale; and

 7                 j)      All funds in Wells Fargo Account 1485084741, account held in
                           the name of Dung Hanh Dao and NGA Thien Nguyen.
 8

 9         AND WHEREAS, beginning on July 8, 2014, for at least 30 consecutive

10 days, the United States published notice of the Court’s Order of Forfeiture on the official

11 internet government forfeiture site www.forfeiture.gov. Said published notice advised all

12 third parties of their right to petition the Court within sixty (60) days from the first day of

13 publication for a hearing to adjudicate the validity of their alleged legal interest in the

14 forfeited property;

15         AND WHEREAS, the Court has been advised that no third party has filed a claim

16 to the subject property and the time for any person or entity to file a claim has expired.

17         Accordingly, it is hereby ORDERED and ADJUDGED:

18                 1.      A Final Order of Forfeiture shall be entered forfeiting to the United

19 States of America all right, title, and interest in the above-listed property pursuant to 18

20 U.S.C. §§ 982(a)(1), 981(a)(1)(C) and 28 U.S.C. § 2461, to be disposed of according to law,

21 including all right, title, and interest of Dung Hanh Dao.

22                 2.      All right, title, and interest in the above-listed property shall vest

23 solely in the name of the United States of America.

24                 3.      The Department of Homeland Security, Immigration Customs

25 Enforcement or Customs and Border Protection, shall maintain custody of and control over

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28 ///


      Final Order of Forfeiture                       2
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          Case 1:13-cr-00036-LJO-SKO Document 132 Filed 09/25/14 Page 3 of 3

 1 the subject property until it is disposed of according to law.

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 3
     IT IS SO ORDERED.
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 5     Dated:     September 25, 2014                  /s/ Lawrence J. O’Neill
                                                UNITED STATES DISTRICT JUDGE
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      Final Order of Forfeiture                   3
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